81 F.3d 151
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Luther RUTHER, Plaintiff-Appellant,v.STATE FARM INSURANCE COMPANY, Defendant-Appellee.
    No. 95-2872.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 2, 1996.
    
      Luther Ruther, Appellant Pro Se.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Affirmed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his civil action for lack of jurisdiction.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Ruther v. State Farm Insurance Co., No. CA-95-1165-A (E.D.Va. Aug. 23, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    